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                                                                    2019 Feb-14 PM 03:48
                                                                    U.S. DISTRICT COURT
                                                                        N.D. OF ALABAMA




               Exhibit C
2/12/2019                                   Another rural Alabama
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            BUSINESS




              Another rural Alabama hospital closing
              Updated 8:31 AM;
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                              Georgiana Medical Center will close March
                              31. (Georgiana Medical Center)


                                                   64



              By William Thornton | wthornton@al.com

              Butler County’s Georgiana Medical Center will close on                                         1

              March 31.




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              The hospital’s operator, Ivy Creek of Butler, says patient
              care will be directed to L.V. Stabler Memorial Hospital in
              Greenville, as well as to other providers.

              According to The Andalusia Star-News, the hospital will
              become the 13th Alabama hospital to close in eight years,
              and the seventh rural hospital to close.

              Oﬃcials with Ivy Creek, L.V. Stabler and the City of
              Greenville are expected to answer questions about the plan
              at a news conference later today.

              Ivy Creek says its rural health clinics will continue to
              operate under the management of L.V. Stabler, while the
              two entities will also combine their home health agencies
              under Ivy Creek. The moves were attributed to the “current
              diﬃcult ﬁnancial environment faced by rural healthcare
              providers.”

              “The rising costs of healthcare coupled with the cuts in
              reimbursement have made it impractical to maintain
              ﬁnancial viability with two hospitals operating in Butler
              County,” Ivy Creek CEO Mike Bruce said in a release. “The
              partnering of the two organizations is the optimal way to
              continue to provide overall high quality healthcare for the
              residents of Butler County as well as the surrounding
              areas."

                                                                                                          1




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